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 Attorneys for the Petitioner Robert Marie Mark Karpeles,
 Foreign Representative of MtGox Co., Ltd., a/k/a MtGox KK

                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                            )
 In re                                      ) Chapter 15
                                            )
 MtGox Co., Ltd.                            ) Case No. 14-31229-15
                                            )
            Debtor in a Foreign Proceeding. ) (Emergency Hearing Set for March 10, 2014
                                              at 1:30 p.m. CST)
                                            )

   NOTICE OF EMERGENCY HEARING ON (I) APPLICATION FOR AN ORDER
 GRANTING PROVISIONAL RELIEF PURSUANT TO SECTIONS 105(a) AND 1519 OF
   THE BANKRUPTCY CODE, (II) SETTING SCHEDULING CONFERENCE FOR
  RECOGNITION HEARING, AND SPECIFYING FORM AND MANNER OF NOTICE

        PLEASE TAKE NOTICE that on March 9, 2014, Robert Marie Mark Karpeles
 (“Karpeles”), in his capacity as the foreign representative (the “Petitioner”) of MtGox Co., Ltd.
 a/d/a MtGox KK (the “Debtor” or “MtGox”), a debtor in a civil rehabilitation proceeding under

 770359-v2\DALDMS
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 Japanese law (the “Japan Proceeding”), currently pending before the Twentieth Civil Division of
 the Tokyo District Court, Japan (the “Tokyo Court”), filed a Petition for Recognition and
 Chapter 15 Relief (the “Petition”) with the United States Bankruptcy Court for the Northern
 District of Texas, Dallas Division (the “Bankruptcy Court”). The Chapter 15 Case (the “Case”)
 is currently pending under Case No. 14- 31229-SGH-15.

        PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court has scheduled an
 EMERGENCY HEARING on the Application for an Order Granting Provisional Relief
 Pursuant to Sections 105(a) and 1519 of the Bankruptcy Code, Scheduling Recognition Hearing,
 and Specifying Form and Manner of Notice [Dkt. No. 4] for 1:30 P.M. CST, March 10, 2014,
 before the Honorable Harlin D. Hale, United States Bankruptcy Judge, Northern District of
 Texas, 1100 Commerce Street, Courtroom 3, 14th Floor, Dallas, Texas 75242.

        PLEASE TAKE FURTHER NOTICE that the Honorable Judge Hale has approved
 telephonic appearances for all parties at the Emergency Hearing. Parties wishing to appear
 telephonically must register with Courtcall at 866-582-6878. Judge Hale will dial in to
 Courtcall when the hearing begins.



 Dated:    March 10, 2014                    Respectfully submitted,
           Dallas, Texas
                                             BAKER & McKENZIE LLP

                                             By:    /s/ John E. Mitchell
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                                                    Attorneys for the Petitioner Robert Marie
                                                    Mark Karpeles, Foreign Representative of
                                                    MtGox Co., Ltd., a/k/a MtGox KK




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